United States District Court
Easterp District; of ‘Wipsonsin

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MARK L. AUGER 05 10 300
MELANIE A. AUGER, ‘OH FEB 3: ~_ fe -
Plaintiffs, 0 5 C iL D 8
po.) -CASENO.
V.
SOF RCN | 5. ACBIS
JULIE DUQUAINE, CLERK
WINN COLLINS,
VINCENT BISKUPIC.

CARRIE SCHNEIDER,
STATE OF WISCONSIN and
WILLIAM GROGAN

Defendants.

 

COMPLAINT

 

PREVIOUS LAWSUITS

This is an initial complaint. No previous civil lawsuits have been filed relating to this case. This
case does relate to the actions of the aster tts against the figeditts relating to State of
Wisconsin Circuit Court, Outagamie County, Branch V, Case No. 2 CM 466 and the subsequent
appeal, State of Wisconsin, Court of Appeals, District III, Case No. 03-3306-CR

THE PARTIES

1. Mark L. Auger, is a citizen of Canada, residing in the state of Wisconsin residing

at 3133 Tri Park Ct., Apt 15, Appleton Wisconsin 54914

2. Melanie A. Auger is a citizen of Canada, presently residing at 2024 Pine Tree
Cres., NE, Calgary, Alberta, Canada, T1Y 1L7 and is the daughter of Mark Auger.

3. Julie DuQuaine is presumed to be a United States citizen, was acting in her
capacity as an Assistant District Attorney for the State of Wisconsin in the district of Outagamie
Country, where she was practicing law from her office located at 320 Walnut St, Appleton 54911.

Her current location and residence was not provided to the plaintiffs.

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4, Winn Collins is presumed to be a United States citizen, and was acting in his
capacity as an intern and later as an Assistant District Attorney for the State of Wisconsin in the
district of Outagamie County, practicing law from his office located at 320 Walnut St, Appleton
54911. His residential address was not provided to the plaintiffs.

5 Vincent Biskupic is presumed to be a United States citizen and while acting in
his capacity for the State of Wisconsin as the District Attorney for Outagamie County, and was
directly responsible for the actions of all members of his office. He was practicing law from his
office located at 320 Walnut St, Appleton 54911. His current location or residential address was

not provided to the plaintiffs.

6. Carrie Schneider is presumed to be a United States citizen, and while acting in
her capacity for the State of Wisconsin as the Deputy District Attorney and then District Attorney
for Outagamie County, and was directly responsible for the actions of all members of her office.
She is practicing law from her office located at 320 Walnut St, Appleton 54911. Her residential

address was not provided to the plaintiffs.

7. The State of Wisconsin is the sovereign state under which the actions of the
District Attorney of Outagamie County and his or her office were authorized to take the actions
they did and those who report to them are employed and therefore ultimately responsible for their

actions.

8. The District Attorneys office of Outagamie County as the case developed,
maintained a strategy of having the State represented by a different member of this office at each
hearing in order to allow individuals to claim they were not aware of certain facts or statements
such that others in discovery it may be established that other members of this office bear

important responsibility for the actions.

9. William Grogan is presumed to be a United States citizen and practices criminal
law at 103 W. College Ave., Suite 525, Appleton Wisconsin, 54911 and was the plaintiff's legal
council shortly after the initial incident until shortly after sentencing. His residential address was

not provided to the plaintiffs.

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JURIDICTION AND VENUE

1, Venue is appropriate for filing the case in the Federal Court of the Eastern
District of Wisconsin, since this is primarily a federal matter, since this case involves abuse of
process, whereby Wisconsin State officials willingly and deliberately misapplied the law contrary
to the intent of the statute in question,, in a manner that was contrary to the intent and spirit of the
United States Constitution such that the defendants willingly and deliberately trespassed on the
plaintiffs constitutionally guaranteed rights to a fair trial, to equal treatment under the law , to act

in his own self defense and to be free from oppression.

2. Venue is also appropriate since the plaintiffs in this action are foreign nationals.

3. Since the defendants include the State of Wisconsin and personnel acting on its
behalf directly within the legal system of this state, this case would not be appropriately heard in
the courts of the State of Wisconsin, the alternate jurisdiction in this case, representing a clear

conflict of interest.

4. The plaintiffs further requests this case be referred to another Federal District
Court outside of the State of Wisconsin to eliminate any further conflicts of interest that most
probably would exist with the jury and others in their relationship to the State or the legal
community if this case is heard within the district. The plaintiff has no preference of an

alternative district beyond this.

OVERVIEW

1. This case is about providing compensation to the plaintiffs for damages inflicted
upon them, as a result of the actions taken against Mark Auger, one of the plaintiffs. The actions
committed by Attorney Julie DuQuaine, Attorney Winn Collins, and other representatives of the
District Attorney’s office, in the District of Outagamie County acting on behalf of and under the
supervision of District Attorney Vincent Biskupic and his successor District Attorney Carrie
Schneider, under the authority of the State of Wisconsin. hereafter referred to as the prosecuting
attorneys, whereby these attorneys willfully and dishonestly enforced the law in a manner that

was contrary to the spirit and intent of the statute they were enforcing on Domestic Abuse,

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contrary to the spirit and intent of the United States Constitution and in complete disregard for the

protections guaranteed Mark Auger by the Constitution of the United States of America.

2. The actions of the prosecution at a point were clearly not motivated by the
administration of justice, but rather to protect their reputations and to prevent a malicious

prosecution action. Therefore the prosecution of Mark Auger constituted an abuse of process.

3. This case also names Attorney William Grogan, who acted as defense council for
the plaintiff. His performance, as defense council in this case shows that he acted either with
extreme negligence in the performance of his duties, but given his experience and background,
instead almost certainly conspired with the prosecuting attorneys to allow them to obtain a false
conviction, against the interests of his client. If Attorney Grogan had acted properly in the
interests of his client, the plaintiff, the prosecution would not have succeeded in their dishonest

criminalization of Auger and therefore must share in the liability for the damages done.

COMPLAINT FOR THE PROSECUTING ATTORNEYS

4, The prosecuting attorneys charged Auger with disorderly conduct, while
enforcing Wisconsin statute relating to Domestic Abuse., obtained a conviction and then
subsequently fought off Auger’s attempts to reverse the unjust conviction and his subsequent pro

se appeal.

5. The prosecutions initial action was prompted by jumping to a conclusion after an
inadequate investigation, failing to properly investigate the situation before making their initial
charging decisions. They were clearly highly negligent in reaching this decision. However very
early in the proceedings, rather than admit their error they made a decision to continue their
prosecution by bringing the case to trial in a dishonest and hypocritical manner, on the basis that
they would find some guilt in any case. When the trial was over it was clear to all the prosecution
had succeeded in obtaining an unjust conviction. These actions constituted an abuse of process
since their actions we not based on the notion of serving justice, but instead they conducted a
prosecution designed solely to obtain and maintain a conviction in spite of justice to protect their
own interests and reputation. The clear motive for their actions was to suppress Auger’s
resistance and to avoid a lawsuit for malicious prosecution and in the process severely aggravated

the damages to Auger and his family. The prosecution succeeded in this regard since the

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conviction was maintained and a token fine of $50 plus costs levied, insuring that the required
element that Auger be cleared of the charge to pursue an action on the basis of a malicious

prosecution

6. The prosecuting attorneys continued their prosecution of the case with the
knowledge that the facts of the case clearly established that Auger was the victim in a domestic
abuse incident and did not commit an act of domestic abuse as defined by the statute they were

enforcing. In fact they did the exact opposite of the stated intent of the statute.

7. The prosecuting attorneys deliberately misrepresented Auger’s actions to the jury
in a calculated fashion and continued to prosecute to maintain the conviction, with the knowledge

that Mark Auger had been denied a fair trial in large part because of these actions.

8. The prosecuting attorneys prosecuted Auger acting on behalf of his wife,
hypocritically maintaining that she was the victim, despite her denial of this, her admission that
she had in fact committed domestic abuse and her husband had not, and clear evidence, including
photographs of Mark Auger’s injuries that she was in fact telling the truth. By acting in this
manner, the prosecution was intentionally trespassing on Auger’s Constitutional Right to be

treated equally under the law.

9. The prosecuting attorneys based their case almost exclusively on three principle
actions- that Auger held his wife by the wrists, that Auger lightly taped his wife on the shoulder
and that Auger tapped his wife on the head. They did so with the knowledge that Auger took
these actions after he had received important threats, verbal abuse and significant injuries such
that Auger’s actions would normally be attributed to lawful acts of self-defense with a high
degree of certainty. They nevertheless prosecuted Auger for these actions with the declared
strategy of denying Auger a self-defense jury instruction, thereby denying Auger his

constitutionally guaranteed right of a fair trial as is guaranteed by the United States Constitution.

10. The prosecuting attorneys used the law to obtain a decision against a motion to
dismiss, based on the principle that the evidence must be solely based on evidence presented by
the state viewed most favorably to their case, with the knowledge that their case was defective in

the presentation of the evidence.

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11. Mark Auger appealed this case. The prosecution crafted a document that in effect
reaffirms and acknowledges the above complaints, by not disputing truth of the arguments raised
by Mark Auger in appeal but rather by arguing that Mark Auger’s appeal should not be granted
because of various technical points. - objections, contemporaneous objections, failing to raise the
matter at the appropriate time etc. The person responsible for all these failings, with one
exception, was not Auger, but rather the defense council at the time, Attorney Grogan. This
document was a tacit admission of Auger’s complaints above, and in effect argues that Auger was

responsible for his own false conviction because he failed to adequately defend himself.

12. The prosecuting attorneys, by acting in the manner described above was using
the law and the financial resources of the State to protect their own interests and reputation rather
than serving justice. Their actions were against everything the United States and its constitution is

supposed to stand for. This was oppression and an abuse of process.

13. Aside from the unjust prosecution of Auger, the prosecuting attorneys were fully
aware that this prosecution, due to Auger’s unique circumstances had the potential to cause
consequences that would be tremendously damaging to the Auger family, placing their living
standard, earnings potential and future receipt of government benefits in jeopardy. In addition the
loss of Auger’s current employment, the potential for a period of unemployment, and the
expenses of relocation to Canada was at risk. Because of this situation, the prosecution redoubled
their efforts to maintain the false conviction in order to avoid the potential for further litigation
rather than try to find a way to that the Auger family avoid the unreasonably severe consequences

as a result of their actions.

14. The following is a brief explanation of the special circumstances referred to
above. The Auger family were winners of the 2002 US Diversity Visa Lottery. Under the rules of
this program, the winners had until Sept 30" , 2002 to have their application for immigration
completely processed or the visa is not granted, with no possibility of appeal or extension. The
laws surrounding the granting of this visa state, that a visa cannot be granted in the case of an
outstanding criminal case. The other members of the family were dependant on Auger’s visa
being approved to obtain their visa since he was the “breadwinner” of the family. In addition the
visa is granted on the basis of an interview in which the existence of a criminal record is generally

considered as a basis for refusal.

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15. No attempt has been made to estimate the overall financial impact of the loss of
these visas would have had to the Auger family, but Mark Auger believes this figure would easily
exceed one million dollars and potentially up to several million dollars depending on how this is
considered. When the actions of the prosecution are taken into this context, the truly oppressive

and immoral character of the prosecution becomes apparent.

16. This damaging situation was largely averted, with the exception of Mark Auger’s
daughter Melanie, addressed later in this complaint. These damages were largely averted due to
Auger applying his best efforts to avoid this, the active help of the people in the INS office of
Milwaukee to expedite the matter, and to provide special help to down play Auger’s breadwinner
status, a great deal of luck and (perhaps reluctantly) the Hon. Michael Gage who scheduled a
sentencing hearing on the last possible day in which this disaster could be averted, September
27",2002 and fining Auger the nominal sum of $50 plus costs to allow Auger to avert this

disaster.
COMPLAINT FOR ATTORNEY GROGAN

17. The prosecution would not have succeeded in their efforts if the defense council,
Attorney William Grogan, acting on Auger’s behalf had not acted in a highly ineffective manner.
On the surface the actions of Attorney Grogan would appear to be due to a very high degree of
incompetence and negligence. However as Mark Auger has come to understand the law and
given Attorney Grogan’s prior experience, it is highly improbable that this was the case, but
rather that Attomey Grogan was working against Mark Auger’s interests in a deliberate fashion
either in his own self interest to maximize his fees or in co-operation with the prosecuting

attorneys or both. Specific examples are as follows:-

18. Attomey Grogan failed to adequately prepare for the case, despite Auger’s

repeated request to do so.

19. Attorney Grogan failed to properly advise his client about the charge he faced,

informing him that he was charged with disorderly conduct the morning of his trial.

20. Attorney Grogan, failed to request a self-defense instruction despite the obvious

importance of self-defense in this case.

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21. Attomey Grogan failed to make a contemporaneous objection, when the Judge in
the case made a statement that he would not provide a self-defense instruction. During the trial,
Mark Auger asked Attorney Grogan to object to this statement and to ask for the self defense
instruction. He replied to Auger that he would not since he should not risk offending the trial;
court. If such an objection had been raised and the instruction not provided a mistrial would have

to be declared.

22. Attorney Grogan failed to make a contemporaneous objection to the
misrepresentations of the prosecution. During the opening and closing statements of the trial
Auger repeatedly asked Attorney Grogan to object to some of the statements made by the
prosecuting attorney. Attorney Grogan replied that he was not allowed to object during this phase

of the trial.

23. Attorney Grogan failed to advise the jury that Mark Auger’s wife was being
compelled to testify under threat of contempt of court, and that she had invoked her 5"

amendment right and had been granted immunity by the state, despite being advised by the trial

24. Attorney Grogan failed to appropriately cross examine the State’s witness Mark

Auger’s wife Farzaneh, failing to question her about key points of evidence.

25, Attorney Grogan failed to appropriately argue the concepts of intent and self-

defense.

26. Attorney Grogan failed to make appropriate arrangements with the trial court to

allow his character witnesses to testify.

27. On the surface the actions of Attorney Grogan appear to be actions of gross
negligence and incompetence. When one comes to a certain understanding of the law however, it
becomes clear that Attorney Grogan’s actions were beyond this and appear to be undertaken in an
effort to allow the prosecution to obtain their conviction, and to ensure that the conviction would

not be overturned or a mistrial declared against the interests of his client.

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DAMAGES

28. As a direct result of the actions of the prosecuting attorneys and Attorney
Grogan’s actions Mark Auger and his family, particularly his daughter Melanie suffered the

following damages for which they seek compensation.

29. As outlined previously in this complaint the Auger family managed to largely
avoid the severe threats placed on them by the actions of the prosecution. However this situation
caused great anxiety and suffering among the Auger family, resulted in considerable expenditures
for processing the green cards and in Mark Auger’s defense and had important lasting

consequences.

30. The plaintiffs consider that Melanie Auger of Calgary, Alberta, Canada, daughter
of Mark Auger lost her opportunity to obtain permanent residence status in the United States due
to the circumstances imposed on the Auger family by the actions of the prosecuting attorneys. At
the time she was attending college in Canada, but the immigration process required that she stay
in the United States or abandon her application. In this situation Melanie was forced by the
circumstances of her father’s situation to make a choice between waiting in the United States to
process her application for permanent residence in the United States if her father’s legal situation
cleared up or returning to college. If she decided to wait in the United States she would loose her
year in college and with the wait involved, possibly not complete her studies. At the point in time
where she was forced to make her decision her decision, the possibility of obtaining the green
card was considered to be very remote by the family. She therefore decided to abandon her
application and return to college. Since the rest of Auger’s family did succeed in obtaining their
permanent resident cards, Melanie will eventually be able to apply for this on the basis of her
relationship; however the current waiting time for admission to the United States on this basis is
in excess of ten years, with an estimated overall wait of 15 years. Auger considers the impact of
this loss to be enormous, where an average person could expect to have 20 to 30% more
disposable income over the course of their lifetime. In addition much can happen in this time
period and she may never obtain permanent residence status and eventually citizenship, with the

right for herself and her descendants to live in the United States.

31. The other lasting consequence of this action is that Auger has an unmerited

criminal record, which has significant implications in his employment as an international worker.

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WHEREFORE, the plaintiffs Mark L. Auger and Melanie A. Auger ask for a judgment as

follows:

32. For Mark Auger and against the prosecuting attorneys, the State of Wisconsin
and William Grogan, in a proportion determined by the court, for all costs incurred and
compensation for time expended by Mark Auger in his own defense against the actions of the

State, during his trial, pre & post-conviction proceeding and appeal.

33. For Mark Auger and against the prosecuting attorneys, the State of Wisconsin
and William Grogan, in a proportion determined by the court, for all additional costs incurred by
Auger for himself and on behalf of and his family in obtaining permanent resident status, and the
costs incurred by Mark Auger in the futile attempt to obtain a permanent resident (green card) for

his daughter Melanie

34. For Melanie Auger and against the prosecuting attorneys, the State of Wisconsin
and William Grogan, in a proportion determined by the court, for compensation for the loss of

permanent resident status in the United States and all that represents.

35. For Mark Auger and against the prosecuting attorneys, the State of Wisconsin
and William Grogan, in a proportion determined by the court reimbursement for the penalties
imposed by the trial court and compensation for his resulting criminal record and all that

represents

36. For Mark Auger and against the prosecuting attorneys, the State of Wisconsin
and William Grogan, in a proportion determined by the court, reimbursement for the costs of this

action.
37. For Mark Auger and against the prosecuting attorneys, the State of Wisconsin

and William Grogan, in a proportion determined by the court for punitive damages and/or other

such remedies as may be determined to be appropriate by the court:

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On behalf of the plaintiffs, 1 declare under penalty of perjury that the forgoing is true and correct.

Complaint signed this 9th day of February, 2005 Vi) *
ae |/

 

 

MARK L. AYGER
Plaintiff- pro‘se

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